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GENEL MÜDÜRLÜK
FİNANSAL MUHASEBE DAİRE BAŞKANLIĞI

                İÇSEL BİLGİLERE İLİŞKİN ÖZEL DURUM AÇIKLAMA FORMU

Ortaklığın Unvanı/Ortakların Adı : Türkiye Halk Bankası A.Ş.
Adresi                               : Barbaros Mah. Şebboy Sok. No:4/1 Ataşehir/İstanbul
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Ortaklığın Yatırımcı/Pay Sahipleri ile
İlişkiler Biriminin Telefon-Faks No : 0216 503 54 50 – 0212 340 09 90
Tarih                                : 16.10.2019
Konu                                 : ABD Adalet Bakanlığı New York Güney Bölge Savcılığı’nın
                                       Bankamız Hakkında Düzenlediği İddianame


Açıklanacak Özel Durumlar: ABD Adalet Bakanlığı’na bağlı New York Güney Bölge Başsavcılığı
tarafından Hakan Atilla davasında ileri sürülen iddialarla bağlantılı olarak bir iddianame
hazırlanarak Bankamız hakkında dava açılmak üzere yargı sürecinin başlatıldığını öğrenmiş
bulunuyoruz. Bu çerçevede, müşterilerimizin, yatırımcıların ve kamuoyunun doğru bilgilendirilmesi
amacıyla aşağıdaki açıklamaların yapılması gerekli görülmüştür.

Bahse konu iddianamenin; yeni bir bilgi ve bulguya yer verilmeksizin, çoğunlukla Hakan Atilla
davasında ileri sürülen iddiaları tekrarladığı ve bu davada ortaya konan girişimlerin Bankamız
üzerinden tekrarlanmaya çalışıldığı görülmektedir. Söz konusu iddialara ilişkin Bankamız
masumiyetini ortaya koyan bağımsız inceleme sonuçlarının, kanıtları ile birlikte ABD Adalet
Bakanlığı ile paylaşılmasına rağmen iddianame hazırlanarak dava açılması manidardır.

Müteaddit defalar kamuoyuna yapılan açıklamalarımızda; Hakan Atilla davasında ileri sürülen
iddialar ile bağlantılı olarak ABD’li yetkili kurumların Bankamızdan bilgi ve belge talebinde
bulunduğu, Bankamızın da anılan kurumlar ile yakın iletişim ve işbirliği içerisinde olduğu, söz
konusu bilgi ve belge taleplerinden ayrı olarak Bankamızın gönüllü bir bağımsız inceleme süreci
başlattığı ifade edilmiştir.

ABD’nin saygın ve büyük hukuk firmalarından King & Spalding ile adli bilirkişi niteliğindeki veri
analizi firması Exiger’a Bankamız tarafından gönüllü olarak yaptırılan bağımsız incelemede 6
milyondan fazla belge, 8 milyonun üstünde SWIFT mesajı, yaklaşık 36 GB işlem verisi, 140 bin
işlem dosyası incelenmiştir. Bir yıllık süre zarfında yaklaşık 30 avukatın 25 bin saatin üzerinde
mesai yaptığı bağımsız inceleme sonucunda Bankamızın ABD’nin İran’a yönelik birincil ve ikincil
yaptırımları ihlal etmediği, dış ticaret işlemlerinde şeffaf olmayan uygulama ve metotlar
kullanmadığı ve herhangi bir tertip ve kumpasın içerisinde bulunmadığı belgelenmiştir. Söz konusu
firmalar, bu bulguları ABD Adalet Bakanlığı ile ABD Hazine Bakanlığına bağlı Yabancı Varlıkları
Kontrol Ofisine (OFAC) bildirmiştir.

Bununla birlikte;

(1) Bankamız ABD’nin ikincil yaptırımlarını herhangi bir şekilde ihlal etmemiş olmakla birlikte,
    Bankamızın ABD’de herhangi bir şubesi ve çalışanı bulunmadığından, ABD Adalet
    Bakanlığı’nın ikincil yaptırım kararları hakkında yargılama yetkisi yoktur. Buna rağmen


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    iddianame düzenlenmesi, tarihte bir ilk olmak üzere emsali görülmemiş bir hukuki yetki
    aşımıdır.
(2) İddianamede, Hakan Atilla davasında da olduğu gibi, hukuk dışı yollarla elde edilen ve
    doğruluğu ispatlanmamış deliller kullanılmış, inanılırlığı hayli şüpheli olan tanıkların
    mahkemedeki sözlü beyanlarına itibar edilmiştir.
(3) İddianamede ileri sürülen hususlar ile ilgili belge ve kanıtların önemli bir bölümü Halkbank
    tarafından kendilerine sunulduğu halde, Bankamızın masum olduğunu gösteren bu belge ve
    kanıtlar Savcılık tarafından yeterli düzeyde değerlendirmeye alınmamıştır. Ayrıca, müteaddit
    defalar tarafımızca talep edilmesine rağmen konu ile ilgili önemli tanıkların bilgisine de
    başvurulmamıştır.
(4) Hakan Atilla davasına ait temyiz süreci devam etmekte olup, bu sürecin sonuçlanması
    beklenmeksizin dava süreci başlatılmıştır.
(5) Bankamız ile ABD Adalet Bakanlığı arasında meselenin iddianame düzenlenmeden
    çözümlenmesi için yapılan görüşmeler sonuçlanmadığı halde, söz konusu suçlamalar,
    Kahraman Ordumuzun sınırlarımızın güvenliğini sağlamak ve bölgede barışı tesis etmek üzere
    başlattığı “Barış Pınarı Harekatı” sebebiyle, ABD hükümetince Ülkemize karşı başlatılan
    yaptırımların bir parçası olarak ortaya atılmıştır.

Bu haksız dava ile ilgili olarak uluslararası hukuktan kaynaklanan tüm yasal haklarımız
kullanılacaktır. Ayrıca, dava süreci boyunca gerek yurtiçinde gerekse yurtdışında, Bankamızın
güven ve itibarı ile finansal bünyesine zarar verecek nitelikte hareket edenler hakkında Bankacılık
Kanunu ile uluslararası hukuktan kaynaklanan gerekli yasal süreçler başlatılarak maddi ve manevi
tazminat haklarımız aranacaktır.

Bankamız, sermayesinin %51’i kamuya ait bir Banka olarak, kurumsal sorumluluklarının bilincinde
bankacılık faaliyetlerini sürdürmekte olup, her türlü finansal yükümlülüğünü yerine getirecek güç
ve kararlılıktadır. Bankamız, geçmiş dönemlerde karşılaştığı bütün güçlükleri nasıl aşıp, ülke
kalkınmasına destek vermeye devam ettiyse, bundan böyle de aynı ruh ve inançla çalışmalarına
devam edecektir. Müşterilerimizin de her zaman olduğu gibi, Bankamıza olan güvenini
sürdüreceklerine ve Ülkemizin kalkınması ve gelişmesi için yürütmekte olduğumuz çalışmalara
aynı inanç ve kararlılıkla destek olacaklarına inancımız tamdır.

Ülkemiz ekonomisine 81 yıldır hizmet sunan Bankamızın, faaliyetlerini geçmişte olduğu gibi bugün
ve gelecekte de tüm ulusal ve uluslararası düzenlemelere uygun, güçlü, güvenilir ve kesintisiz bir
şekilde sürdüreceğini kamuoyunun bilgisine sunarız.

Açıklamanın İngilizce versiyonuna aşağıda yer verilmektedir./ English version of the disclosure is
stated below.

This Bank has been informed that the U.S. Attorney’s Office for the Southern District of New York,
under the U.S. Department of Justice, has taken the decision to engage in due process to prosecute
the Bank based on an indictment related to the allegations made during the Atilla trial. The Bank
has thus found it necessary to make the following explanations to furnish all clients, investors and
general public with accurate information.

Absent any new findings, the indictment appears largely to repeat allegations used during the Atilla
trial, retrying the same attacks against the Bank. It is rather significant that the U.S. Department of
Justice’s decision to indict comes despite the independent investigation findings demonstrating the
Bank’s innocence, which the Department received along with underlying evidence.

Per our past disclosures on numerous occasions, certain U.S. authorities have been asking Halkbank
for records and information pertaining to allegations made during the Atilla trial, which led the


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Bank to closely cooperate with these authorities and also initiate an independent investigation of its
own on a voluntary basis.

The Bank had voluntarily retained the prestigious U.S. law firm King & Spalding, which then
retained the forensic analysis firm Exiger, to conduct this independent internal investigation which
encompassed 6+ million documents, 8+ million SWIFT messages, almost 36GB of transactional
data and 140,000 underlying documents for review. Almost 30 lawyers put in around 25,000 hours
over one year, and the review found that the Bank did not violate primary or secondary U.S.
sanctions against Iran, and it did not employ non-transparent practices or methods in foreign trade
transactions, nor was it involved in any scheme or conspiracy. These findings were reported by the
two firms to the U.S. Department of Justice and the U.S. Department of Treasury’s Office of
Foreign Assets Control.

As such:

(1) The Bank was not engaged in any secondary U.S. sanctions violations. Furthermore, since the
    bank does not have any branches or employees based in the USA, it falls outside the
    Department of Justice’s jurisdiction. Therefore the decision to indict is an unprecedented legal
    overreach.
(2) The indictment is based on illegally obtained, unauthenticated evidence previously presented in
    the Atilla case, and it relies heavily on unreliable testimony from witnesses who lack the
    necessary credibility.
(3) The U.S. Attorney’s Office has failed to adequately consider the information Halkbank
    provided that Office which included a substantial amount of highly relevant evidence
    pertaining to the allegations, which demonstrates the Bank’s innocence, and it has further
    refused to interview key witnesses as proposed on multiple occasions by the Bank.
(4) Hakan Atilla’s appeal is still underway, and these charges have been filed before that appeal
    could come to a conclusion.
(5) Despite the fact that the Bank’s ongoing discussions with the U.S. Department of Justice to
    resolve this matter without indictment has not yet come to a conclusion, these were filed as part
    of the sanctions introduced against our country by the U.S. government in response to
    Operation Peace Spring, heroically launched by the Turkish Army to secure our borders and
    establish peace in the region.

The Bank will exert all legitimate rights against this unwarranted case under international law. We
will most certainly avail ourselves of our rights to both pecuniary and nonpecuniary damages
granted by the Banking Law and relevant international regulations against all those who, in an
attempt to discredit the Bank and damage its financial composition, try to abuse the situation during
the course of this case.

With 51% state-owned capital, Halkbank is highly aware of its corporate responsibility and carries
out all banking operations accordingly, capable and determined to fulfill all financial liabilities. The
Bank will carry on with the same spirit and conviction which always helped us overcome the past
challenges and contribute to national development. We are fully convinced that our clients will
continue to stand by us, never wavering in their commitment to support our efforts for the growth
and improvement of this country.

We would like to reaffirm our commitment to perform banking operations in a firm, reliable,
unwavering fashion and in full compliance to national and international regulations, honoring our
81 years of history in the service of the Turkish economy.

In case of any contradiction between the Turkish and English versions of this public disclosure, the
Turkish version shall prevail.
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Yukarıdaki açıklamalarımızın, Sermaye Piyasası Kurulu’nun yürürlükteki Özel Durumlar
Tebliğinde yer alan esaslara uygun olduğunu, bu konuda/konularda tarafımıza ulaşan bilgileri tam
olarak yansıttığını, bilgilerin defter, kayıt ve belgelerimize uygun olduğunu, konuyla ilgili bilgileri
tam ve doğru olarak elde etmek için gerekli tüm çabaları gösterdiğimizi ve yapılan bu
açıklamalardan sorumlu olduğumuzu beyan ederiz.


                                                                                  Saygılarımızla,


                                                                    TÜRKİYE HALK BANKASI A.Ş.
                                                                       GENEL MÜDÜRLÜĞÜ




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